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                         Exhibit 5
                          Do not call registry 2014
                      Plaintiffs Cell# 617-xxx-5417




PDF processed with CutePDF evaluation edition www.CutePDF.com
Gmail - National Do Not Call Registry - Your Registration Is Confirmed           https://mail.google.com/mail/u/1?ik=1747b33c77&view=pt&search=all...
                            Case 1:20-cv-12076-TSH Document 15-5 Filed 10/12/21 Page 2 of 2


                                                                                                          paul jones <ccrdcorp@gmail.com>



          National Do Not Call Registry - Your Registration Is Confirmed
          1 message

          Verify@donotcall.gov <Verify@donotcall.gov>                                                             Sun, Sep 26, 2021 at 8:27 AM
          To: ccrdcorp@gmail.com

            Thank you for registering your phone number with the National Do Not Call Registry. You successfully registered your
            phone number ending in 5417 on August 07, 2014. Most telemarketers will be required to stop calling you 31 days
            from your registration date.

            Visit https://www.donotcall.gov to register another number or file a complaint against someone violating the Registry.

            ******************************************************************************************************************************

            Please do not reply to this message as it is from an unattended mailbox. Any replies to this email will not be
            responded to or forwarded. This service is used for outgoing emails only and cannot respond to inquiries.




1 of 1                                                                                                                                   10/11/2021, 3:29 PM
